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              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
_________________________________________________________________
SILVIA M. O’HARO,                   :
                                    :
                Plaintiff           : CIVIL ACTION NO 1:18-CV-2073
     v.                             :
                                    : Honorable Christopher C. Conner
HARRISBURG AREA COMMUNITY           :
COLLEGE                             :
                                    :
                Defendant           :

             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        COMES NOW, Defendant Harrisburg Area Community College, by and

through its counsel, and for the reasons set forth in its accompanying brief in

support, hereby requests that the Court enter an order granting summary judgment

in favor of Defendant on all claims in accordance with Rule 56 of the Federal

Rules of Civil Procedure.

                                 Respectfully submitted,
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                                 Community College



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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing,

Defendant’s Motion for Summary Judgment, this 1st day of November, 2019, was

electronically filed and served via the Court’s CM/ECF electronic system to all

known counsel of record, including the following:



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